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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 DIANA REYNOLDS and SANDRA HIGH,
 individually and on behalf of all others
 similarly situated,                                    Case No. 17-cv-00170

                         Plaintiffs,                    Hon. John J. Tharp, Jr.
                                                        Magistrate Judge Young B. Kim
 v.

 CHW GROUP, INC., d/b/a Choice Home
 Warranty, a New Jersey corporation,

                         Defendant.



                                       JOINT STATUS REPORT

         Plaintiffs Diana Reynolds (“Reynolds”) and Sandra High (“High”) (collectively

“Plaintiffs”) and Defendant CHW Group, Inc. d/b/a Choice Home Warranty (“CHW” or

“Defendant”) submit this Joint Status Report as Ordered by the Court on August 29, 2018 (Dkt.

70).

1)       In accordance with the Court’s previous Orders, the Parties have timely completed all Party

      depositions as scheduled.

2)       However, in light of the deposition testimony the Parties require additional time to

      complete fact discovery regarding matters addressed during the depositions, and request until

      January 14, 2019 to do so.

3)       The Parties also request time to conduct expert discovery, and request until March 29, 2019

      to do so. The Parties propose that expert disclosures be due on January 29, 2019.

4)       The Parties propose that Plaintiff’s motion for class certification be due on or before April

      19, 2019.

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                                        Respectfully Submitted,


                                        DIANA REYNOLDS AND SANDRA HIGH,
                                        individually and on behalf of all others similarly
                                        situated,

Dated: November 8, 2018                 /s/ Patrick H. Peluso

                                        One of Plaintiff’s Attorneys


                                        Steven L. Woodrow
                                        swoodrow@woodrowpeluso.com
                                        Patrick H. Peluso
                                        ppeluso@woodrowpeluso.com
                                        Woodrow & Peluso, LLC
                                        3900 East Mexico Ave., Suite 300
                                        Denver, Colorado 80210
                                        (720) 213-0675

                                        Stefan Coleman
                                        Law Offices of Stefan Coleman, P.A.
                                        201 S Biscayne Blvd, 28th Floor
                                        Miami, FL 33131
                                        (877) 333-9427
                                        Email: law@stefancoleman.com



                                        DEFENDANT CHW GROUP INC.,


Dated: November 8, 2018           By:      /s/ Andrew J. Urgenson
                                           Andrew J. Urgenson (pro hac vice)
                                           OVED & OVED LLP
                                           401 Greenwich Street
                                           New York, NY 10013
                                           Tel. 212.226.2376


                                           Attorneys for Defendant CHW Group, Inc.




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                                CERTIFICATE OF SERVICE
       I hereby certify that on November 8, 2018, I caused the foregoing to be filed with the

Court using the Court’s electronic filing system.



                                          /s/ Patrick H. Peluso




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